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                                  Declaration of Dr. Lindsey E. Fish

  I, Dr. Lindsey E. Fish, declare the following under penalty of perjury pursuant to 28 U.S.C. § 1746:

                                     Experience & Qualifications

     1. I am currently an internal medicine physician, practicing acute urgent care medicine at
         the Federico F. Pena Southwest Urgent Care Clinic affiliated with Denver Health and
         Hospital. I am the Medical Director of this clinic, a clinic that has over 25,000 acute care
         visits annually with patients of all ages and presenting with all complaints. Additionally, I
         am an Assistant Professor of Medicine in the Division of General Internal Medicine at
         the University of Colorado School of Medicine. I am the course director for the Internal
         Medicine Residency Program Urgent Care Elective and the Urgent Care Liaison for the
         Denver Health Longitudinal Integrated Clerkship for third year medical students.

     2. All statements within this declaration represent my thoughts and literature review and
        these statements do not necessarily represent the positions of Denver Health and
        Hospital or the University of Colorado School of Medicine.

     3. I received my Bachelor of Arts degree in Biology from Macalester College in St. Paul, MN
        in 2001. I received my Doctor of Medicine degree from the University of California, San
        Francisco in 2007. I completed my Internal Medicine internship and residency at the
        University of Colorado School of Medicine in 2010. I am board certified in Internal
         Medicine. I am currently a member of the Society of General Internal Medicine and the
         Urgent Care Association.

     4. Since completing my residency, I worked in the Colorado Department of Corrections
        providing primary care, urgent care and emergency care from 2010-2013. I additionally
        worked in the Emergency Department at the Denver Veterans Affairs Hospital during
        this period. In 2013, I began working at Denver Health in the Adult Urgent Care Clinic.
         In 2015, I became the Medical Director of the Federico F. Pena Southwest Urgent Care
         Clinic, an all-age urgent care clinic located in Southwest Denver where I have been for
         the last six years.

     5. My clinical work for the last eight years has been in urgent care medicine and I
         personally see patients ages 11 and up and pediatric emergencies. I supervise a staff
         that includes pediatricians, family medicine physicians, nurse practitioners, physician's
         associates, registered nurses, medical assistants and patient access specialists. I work to
         ensure that clinical care provided in the clinic is evidence based and of excellent quality.
         Work in the areas of urgent care healthcare disparities, point-of-care ultrasound,
         antibiotic stewardship and COVID-19 treatment and operations are my areas of
         expertise.

                                               EXHIBIT
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     6. I have been involved in various aspects of medical education of medical students,
        Internal Medicine residents, Family Medicine residents and Medicine/P ediatrics
        residents. I have completed additional educators training through three post-graduate
        teaching certificate programs. My educational pursuits have included teaching and
        mentoring in ambulatory care medicine, underserved medicine, correctiona l medicine,
        urgent care medicine, clinical medical Spanish, quality improveme nt initiatives, research
        collaborations and career developme nt.

     7. I have been involved in research in gonorrhea antimicrob ial resistance, pediatric otitis
        media, pediatric conjunctivitis, antibiotic stewardship and the outpatient treatment of
        COVID-19 with monoclona l antibodies. I am currently the Denver Health Principal
        Investigator and a co-investigator with the University of Colorado on the "Real World
        Effectiveness and Safety of Monoclona l Antibody Treatment in High-Risk COVID-19
        Outpatient s" study funded by the National Institutes of Health (NIH) and National
        Center for Advancing Translational Sciences (NCATS). Additionally, I am a member of
        the Editorial Board of the Journal of Urgent Care Medicine and am the Editor of Clinical
        Images for this journal.

     8. I received the Corps Community Award for "Exceptional Service to Colorado's Medically
        Underserved" presented by a coalition of organizations dedicated to providing medical
        care in Colorado in 2012. I received the Denver Health Pillar Award for Engagement in
        2014, the Denver Health Pillar Award for Community in 2015, and the Denver Health
        Pillar Award for Growth in 2017. Additionall y, I received The Philip S. Mehler Adult
        Medicine Award for Excellence in Quality from Denver Health in 2017. I received two
         Compassionate Care Awards for Exceptional Patient Care at Denver Health, one in 2017
         and one in 2018.

     9. My academic and medical work include twenty-fou r scientific presentations and invited
        lectures, one medical book chapter and ten peer-reviewed published scientific papers.
        Nine of these have been related to COVID-19. I have appeared in three television and
        print news stories regarding the outpatient treatment of COVID-19 with monoclona l
         antibodies including a September 2021 Denver Post story on this subject.

     10. In regards to COVID-19, the Pena Urgent Care Clinic has remained open and accessible
         to all patients, including suspected and confirmed COVID-19 patients, throughou t the
         pandemic. Therefore, besides seeing patients personally with COVID-19, as the Medical
         Director I have designed and implement ed all policies and procedures regarding the
         care of this patient population while ensuring the safety of other patients and the staff
         working in the clinic. Additionally, under my leadership, we began providing the
         monoclona l antibody treatment, the only outpatient authorized treatment for COVID-19
         to Denver Health and metro Denver patients infected with COVID-19. This clinic is one
         of only two sites offering this treatment in the City of Denver. Our process and


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        administratio n of this treatment is recognized as the most effective and efficient in the
        state of Colorado.

     11. My detailed curriculum vitae is attached as Exhibit A.

     12. Personally, I reside in Douglas County, Colorado. I have two children ages 3 and 6 who
         attend preschool and first grade in a Douglas County School District elementary school.
         I also have two stepchildren, ages 12 and 14, who attend a Douglas County School
         District middle school and high school, respectively. As such, I am familiar with all
         Douglas County and Douglas County School District policies, procedures and mandates,
         as well as its effects on families and children, especially during the last eighteen months
        of the COVID-19 pandemic.

     13. If called as a witness, I could and would testify competently to the matters set forth
        below.

                                        Public Health Order

     14. I am familiar with the recent Douglas County Board of Health Public Health Order issued
        on October 8th , 2021 and have reviewed it carefully. In my expert opinion, this order
        will harm the educator staff, children and families of this county. It denies the Douglas
        County School District the ability to fashion policies for their schools that attend to the
        health needs of their students which allow for safe in-person learning.

     15. If students' only option is going to school with a substantial/hi gh risk of COVID-19
         transmission, without strong mitigation measures including mask mandates and
         appropriate quarantines, they are forced either to attend school risking their physical
         health and that of their families; or to stay out of school, a significant risk to their
         physical, psychological, emotional, educational and development al well-being. I am
         particularly concerned for those students with chronic medical illnesses and disabilities
         who have an increased risk of severe illness should they contract COVID-19.

     16. Given the dominance of the Delta variant in Douglas County, Colorado and across the
         United States, without mask mandates and appropriate quarantines, it has been
         demonstrated that significant portions of classrooms, including those with students with
         disabilities, can and will be infected with COVID-19.

     17. I am not being compensated for my time reviewing material and preparing this report.

                                            COVID-19 Overview

     18. COVID-19 is an infection caused by SARS-CoV-2, a coronavirus. Coronaviruses are a
         group of viruses that are similar on a molecular level due to the spike proteins located



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        on the outside of the virus that visually appear like a crown (corona). The coronaviruses
                                                                                              1
        cause infections that range from asymptomatic infection to life threatening illnesses .
        COVID-19 spreads through respiratory droplets as the virus is located within these
        particles. When an infected person exhales, infected respiratory droplets can infect
        another person. This can occur through three mechanisms: 1) breathing in air to the
        lungs that contains the infected respiratory droplets, 2) infected respiratory droplets
        landing on the eyes, nose and mouth, and 3) touching the eyes, nose and mouth with
        hands that have the infected respiratory droplets on them 2.

     19. COVID-19 infection can have a variable clinical presentation. Many infected patients
         have no symptoms (asymptomatic). Many infected patients have mild to moderate
         symptoms which can include one or more of the following: cough, shortness of breath,
         fever, chills, nasal congestion, runny nose, sore throat, headache, fatigue, abdominal
         pain, diarrhea, nausea, vomiting, loss/change of smell, loss/change of taste, rash, and
         body aches. Some infected patients have severe symptoms which include trouble
        breathing, hypoxia (low oxygen), confusion, chest pain, heart complications and/or
        organ failure. While some underlying characteristics and medical conditions predispose
        to a higher likelihood of severe illness, severe illness can occur in anyone. Symptoms
        begin 2-14 days after infection 3 .

     20. Throughout the eighteen months of the COVID-19 pandemic, there have been multiple
         variants of the SARS-CoV-2 virus. As of the last week of September (the most recent
                                                                                  4
         data available), 100% of the cases in Colorado were ofthe Delta variant • The Delta
         variant has similarities and notable differences from previous variants during the
        pandemic. The Delta variant is transmitted in the same mechanism as all previous
        variants. However, the Delta variant has significantly higher transmissibility. The Ro
        value is the measure of transmissibility. The Ro of early variants such as Alpha were
        between 2 and 3, indicating that one infected person would likely infect 2 to 3 other
        people; whereas the Ro of the Delta variant is between 6 and 7, indicating that an
        infected person would likely infect 6 to 7 other people. Patients infected with the Delta
        variant carry 1,000 times more of the virus in their nasal canals than in earlier variants.
                                                                                         5
        It is more transmissible than the common cold, influenza, small pox and Ebola • This all
        results in rapid and exponential spread of this virus.

     21. There are several identified risk factors for COVID-19 that increase the likelihood for
         infection, hospitalization and death. Children ages 5-17 have the same risk as a young-
         adults ages 18-29 to become infected and they have slightly less risk for hospitalization
         and death. However, in looking at race/ethnicity, there is a large disparity. Compared
         to White, Non-Hispanic persons, Black persons have 1.1 times the risk for infection, 2.8
         times the risk for hospitalization and 2 times the risk of death. Compared to White,
         Non-Hispanic persons, Hispanic persons have 1.9 times the risk for infection, 2.8 times



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        the risk for hospitalization and 2.3 times the risk of death. Compared to White, Non-
        Hispanic persons, American Indian persons have 1.7 times the risk for infection, 3.5
        times the risk for hospitalization and 2.4 times the risk of death 6,7 .

     22. Data is beginning to emerge on what underlying conditions correlate with severe
         COVID-19 illness among children. In a large cross-sectional study of pediatric patients
         with COVID-19, risk factors for severe illness include asthma, neurodevelopmental
         disorders, anxiety, depression, obesity, esophageal disorders, tobacco-related disorders,
        diabetes (both type 1 and type 2), epilepsy, cardiac and circulatory congenital
        anomalies, upper respiratory diseases, and hypertensions. Higher risk of hospitalization
        occurs for type 1 diabetes, obesity, cardiac and circulatory congenital anomalies,
        epilepsy, neurodevelopmental disorders, type 2 diabetes, depression, hypertension,
        anxiety and asthmas. These conditions are also associated with severe illness when
        hospitalizeds. In a study from Children's Hospital Colorado, the presence of any
        comorbid condition increased the odds of admission by 2.73 with increasing odds for
        additional comorbidities. Comorbid risk factors identified include obesity, pulmonary
        disease (asthma, sleep apnea), gastrointestinal disease, endocrine disease (diabetes),
        cardiac disease, neurologic disease, immunocompromising disease, and psychiatric
        disease 9. Hispanic ethnicity was also demonstrated to result in more severe illness 9.

     23. With the rise in the Delta variant, there has also been an increase in COVID-19
         hospitalizations among pediatric patients. From the beginning of the pandemic in
         March 2020 through August of 2021, COVID-19 hospital admission rates for all ages of
        children (ages 0-4, 5-11, 12-17) have increased. Most recently over the past summer
        from late June to mid-August 2021, the rate of all pediatric patients hospitalized for
        COVID-19 went up 4.7-fold and the rate of ch ildren ages 0-4 that were hospitalized went
        up 10-fold. Unvaccinated adolescents ages 12-17 were also 10 times more likely to be
        hospitalized than their vaccinated counterparts. This drastic increase in hospitalization
        coincides with the increasing circulation of the Delta variant 10 . There is also some
        indication in this data that the illness from the Delta variant is more severe.

     24, Additionally, even completely healthy children are at risk for Multisystem Inflammatory
        Syndrome in Children (MIS-C) following COVID-19 infection. MIS-C is a condition which
        can cause swelling and inflammation of the heart, lungs, brain, kidney, skin, eyes and
        gastrointestinal organs resulting in severe illness and organ failure 11 . Treatment of this
        requires hospitalization, close medical attention and intensive medications. Children are
        also at risk for long-COVID, a prolonged course of COVID-19 symptoms that may last for
        many months after the acute infection.




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                                   COVID-19 in Douglas County

     25. Douglas County is currently in a high-risk state of transmissibility based on the current
         case rates in the county. COVID-19 case rates for school-aged children remain markedly
         elevated, often exceeding case rates in adults 18 years and older, with the greatest
         disease burden for unvaccinated children ages 6 to 11 years. Please see the most recent
         data in the table below from the Tri County Health Department. Also, note that case
        rates have been continuing to increase in all age groups over the last four months.

     26. Weekly Incidence Rates (per 100,000), by age group, Douglas County Colorado

        Week       0-5 years     6-11 years     12-17 years     0-17 years       18 years
      Starting                                                  combined        and older
      6-Jun-21        64             43             66.6           58.6            39.3
     13-Jun-21       18.3            7.8            95.6           47.6            26.3
     20-Jun-21       4.6             23.5           37.6           24.4            33.4
     27-Jun-21       4.6             23.5           37.6           24.4            33.8
      4-Jul-21        32             54.8           20.3           34.2            36.4
     11-Jul-21        4.6            19.6           31.9           20.7            44.9
     18-Jul-21       27.4           82.2            52.1           54.9           64.2
     25-Jul-21       45.7           176.1           89.8           104.9          100.5
     1-Aug-21        86.8           140.9           63.7           93.9           140.6
     8-Aug-21        82.2            133            110            109.8          147.7
    15-Aug-21        155.4          356.1          260.6           262.3          192.5
    22-Aug-21        146.2          438.3           240.3          276.9          197.7
    29-Aug-21        91.4           524.4           278             305           216.3
     5-Sep-21        187.3          438.3          257.7           295.2          216.3
     12-Sep-21       86.8           324.8           165             194           217.8
     19-Sep-21       132.5          262.2           121.6          168.3          192.9
     26-Sep-21       118.8          399.1           191.1          236.7          192.2

     27. Additionally, there is currently fourteen active outbreaks of COVID-19 in the Douglas
         County School District for the 2021-2022 school year according to the Tri County Health
         Department which is the highest of all of the school districts in this region. As such,
         there is very high transmission in the county, and specifically in the pediatric population
        that is affecting DCSD schools.

     28. All of this is currently occurring while there was a mask mandate in place.




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                    COVID-19 Transmission in the School & Childcare Setting

     29. There have been several recent studies that have documented significant transmission
         in school and childcare settings. In Georgia, from December 2020-January 2020, two
        clusters of COVID-19 cases involved educator-to-educator transmission followed by
        educator-to-student transmission in classrooms. These clusters were responsible for
        almost 50% of school-associated cases 12 . This study indicates that school staff can infect
        each other and then, in turn, infect students. More recently, over the summer and
        involving the Delta variant, there was a significant outbreak in a California elementary
        school. In this case, one unvaccinated COVID-19 positive teacher infected 50% of the
        students in her class (12 of 24 students). While masks were required, she read aloud to
        the students without wearing her mask while her students wore their masks. Students
        were more likely to be infected when seated in close proximity to her13 • This indicates
        the ease of transmission of the Delta variant in the school setting without appropriate
        mitigation measures. Lastly, there is also data to support that transmission can also
        occur in childcare settings 14 .

     30. Infected school-age children have been documented to transmit COVID-19 to family
        members and close contacts leading to increased infection rates and hospitalizations. In
        one case report, infected children from a summer camp returned home and in 18% of
        those homes, 45% of family members were infected even with many families utilizing
        mitigation measures such as mask wearing and physical distancing15 • Some of those
        family members required hospitalization for their COVID-19 infections 15 . In another
        study performed prior to the Delta variant, among fourteen households in which the
        infected index patient was aged <18 years, the secondary infection rate from infected
        index patients aged <12 years was 53% and from infected index patients aged 12-17
        years was 38%. This indicates that if a child under the age of 12 is infected, 53% of close
        contacts will become infected 16 • Given the increased transmi ssibility of the Delta
        variant, we would expect even higher rates of close contact transmission in the current
        state.

    31. All of the data above demonstrates that COVID-19, and specifically the current Delta
        variant, is very transmissible to students, school staff and their families; and is causing
        significant infection and severe illness in our local pediatric population and schools.

                                     COVID-19 Prevention Measures

    32. There are several prevention and mitigation measures that can be taken to help
        prevent the spread of COVID-19 and these can be applied broadly in the community as
        well as in school environments. According to the CDC, these measures include
        vaccination, masking, physical distancing, screening testing, ventilation, handwashing
        and respiratory etiquette, staying home when sick and getting tested, contact tracing in



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        combination with quarantine and isolation, and cleaning and disinfection. Using a
        layered strategy, meaning utilization of multiple prevention strategies together,
        consistently, is the best approach 17 .

     33. Vaccination is the leading public health prevention strategy to end the COVID-19
         pandemic. Currently, individuals 18 years and older can receive a COVID-19 vaccine
         from Pfizer, Moderna or Johnson & Johnson. Individuals ages 12-17 are also eligible to
         receive a vaccine from Pfizer only. Children age 11 and under are not eligible to receive
        a COVID-19 vaccine at this time .

     34. Initial public health goals were to achieve 70% vaccination rate in order to control the
         pandemic, however, it is now believed that closer to 80-90% vaccination rates may be
         needed to control the pandemic and achieve herd immunity due to the increased
        transmissibility of the Delta variant 18 .

     35. Current vaccination rates in Douglas County are below the above-mentioned public
         health vaccination goals. While the completed vaccination rate of all individuals in
         Douglas County over the age of 12 is 77.2%, children ages 12-15 have a completed
         vaccination rate of 58.6% and children ages 16-17 have a completed vaccination rate of
         67%19 . Again, children under the age of 12 are ineligible for vaccination. This leaves
         many of the school-age children unprotected and complete county wide vaccination
        rates well below the 70% goal. As such, herd immunity has not been achieved in
        Douglas County. This is supported by the current high rates of COVID-19 infection as
        shown above.

     36. Additionally, despite vaccination, breakthrough infections can occur. A breakthrough
         infection occurs when a fully vaccinated person gets infected with COVID-19. These
         infections are expected as no vaccine is 100% effective. However, COVID-19 infections
         following vaccination make people less ill, with less likelihood for hospitalization and
         death 20 . Transmission of COVID-19 infection from someone who was previously
        vaccinated does occur, however, at a lower rate than transmission from an
        unvaccinated individual 21 •

                                  Mitigation through Mask Wearing

     37. While working towards herd immunity via vaccination, other COVID-19 prevention and
         mitigation measures need to be implemented to prevent illness and infections. The first
         and most effective is mask wearing. Given the highly contagious nature of the Delta
         variant (the Delta variant is currently the only variant in Colorado) the CDC
         "recommends universal indoor masking by all students (age 2 and older), staff, teachers,
        and visitors to K-12 schools, regardless of vaccination status" 17 •




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     38. Additionally, the American Academy of Pediatrics "recommends universal masking in
         school for the following reasons:

            o   a significant portion of the student population is not eligible for vaccination

            o   protection of unvaccinated students from COVID-19 and to reduce transmission,
                and a potential lack of a system to monitor vaccine status among students,
                teachers and staff

            o   potential difficulty in monitoring or enforcing mask policies for those who are
                not vaccinated; in the absence of schools being able to conduct this monitoring,
                universal masking is the best and most effective strategy to create consistent
                messages, expectations, enforcement, and compliance without the added
                burden of needing to monitor vaccination status

            o   possibility of low vaccination uptake within the surrounding school community

            o   continued concerns for variants that are more easily spread among children,
                adolescents, and adults" 22 .

     39. Mask wearing is safe. There is no significant or reliable evidence that hypoxia, reduced
                                                                                            23
         oxygen saturation or carbon dioxide retention is associated with wearing a mask • In
         fact, the physiologic impact of wearing a mask has been noted to be insignificant and
         therefore masks can be worn in daily activities and exercise for both healthy individuals
                                                             24
        and those with underlying cardiopulmonary disease • While some people may perceive
        some shortness of breath, there is no significant impact on actual work of breathing,
        oxygen levels, carbon dioxide levels, or other body effects, even in heavy exercise.
        There are no differences based on age or sex. This is true with cloth, surgical or N95
        face masks 25 • Mask wearing is even more important in the current setting of the Delta
        variant with increased transmissibility 26 .

     40. Mask wearing has been demonstrated in a multitude of studies to be extremely
         effective at preventing the transmission of COVID-19. Mask wearing is effective because
         it reduces the transmissibility per interaction by reducing the production of airborne
         infected respiratory particles in both laboratory and clinical contexts. It is noted that
        because respiratory particles become smaller due to evaporation, mask wearing by
        infectious people (source control) can have greater benefits on a population level rather
                                                                                        27
        than mask wearing by susceptible people with a focus on individual outcomes • Smaller
        particles are able to sneak through masks at a higher rate than larger particles, which
        exemplifies the benefit of mask wearing by the source on decreasing the spread of
        COVID-19 compared with protecting individuals from becoming infected by wearing
        their own masks. Of note, at least 50% or more of transmissions are from persons who
        never develop symptoms or those who are in the pre-symptomatic phase of COVID-19



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       illness28. This indicates the importance of universal mask wearing to prevent
       transmission.

    41. In Maricopa and Pima Counties, Arizona, the 2021-2022 school year began with variable
        mask policies. During the six-week period between July 15th and August 31st there was
        noted to be 191 school-associated COVID-19 outbreaks. Of these 59.2% occurred in
        schools without a mask requirement and 32.5% occurred in school that started without
        a mask requirement and later enacted one. Only 8.4% occurred in schools with a mask
        requirement from the first day of school. This demonstrates that the odds of having a
        COVID-19 outbreak is 3.5 times higher for schools without a mask requirement29.

    42. In a national study evaluating pediatric COVID-19 cases in counties with and without
        school mask requirements, those counties without a mask requirement had more than
        twice as many pediatric infections compared to those counties with a mask requirement
        (34.85 cases per 100,000 per day compared to 16.32 cases per 100,000 per day)30.
        These indicate that school mask mandates result in fewer pediatric COVID-19 infections
        and school outbreaks compared to those without mask mandates.

    43. Masks are extremely effective in Colorado, as well. In a recent presentation to the
        Metro Denver local public health departments, the difference in COVID-19 pediatric
        cases showed a four-fold increase in rates (near 800 7-day cases per 100,000 people
        ages 5-17 compared to under 200 7-day cases per 100,000 people ages 5-17) in school
        districts that did not require a mask compared to those that did require a mask when
        schools opened the end of August. See graph below:




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     44. The CDC continues to recommend contact tracing in combination with isolation and
         quarantine. Isolation should be applied to any person who has tested positive for
         COVID-19. The duration of isolation should be 10 days from symptom onset, or when
         asymptomatic, 10 days from test date. Quarantine is utilized for a close contact of
        someone who has COVID-19. Quarantine is not required of fully vaccinated
        asymptomatic individuals; however, they need to wear their mask at school and
        indoors. If an exposed vaccinated person becomes symptomatic during the quarantine
        period, they should be immediately tested. Quarantine is required of unvaccinated
        close contacts. The duration of quarantine is 14 days, however, may be shortened to
        seven days with a negative COVID-19 test 17 performed on day seven. The American
        Academy of Pediatrics also recommend a multi-pronged, layered approach to protect
        students, teachers, and staff which includes appropriate isolation and quarantine 22 •

     45. All of the data presented above makes it very clear that masks are safe and effective in
         decreasing transmission of COVID-19. Additionally, mask mandates have demonstrated
        significant decreased transmission in the school setting, keeping kids safe while
        experiencing in-person learning, the goal of the American Academy of Pediatrics.

                                         My Personal Experience

     46. As an urgent care physician, I have been on the front lines ofthe COVID-19 pandemic
         since the onset. I have spent the last 18 months caring for patients, their families and
        coworkers while they suffer from COVID-19 with acute illness, long-COVID syndrome
        and unfortunately, death. While many patients of all ages have mild illness, seeing even
        one patient gasping for air and lacking oxygen is a horrific experience.

     47. We have admitted patients of all ages, including very young children, school-age
         children and adolescents to the hospital for severe illness. The numbers listed above
        aren't just numbers; every number is a person, a parent, child, sibling, friend. The
        impacts of a COVID-19 infection can have ripple effects far beyond what can be
        measured in a chart or a graph. If even one case of COVID-19 can be prevented, it is
        absolutely worth it.

     48. The clinic I lead provides COVID-19 positive patients the monoclonal antibody
        treatment. Our clinic is one of only two sites in the City of Denver. Monoclonal
        antibody treatment is the only authorized outpatient treatment for COVID-19 patients
        with mild to moderate symptoms who are at an increased risk for complications
        including hospitalization and death. This treatment results in four fewer days of
        symptoms and a 70-80% reduction in hospitalization 31 . Thus far we have treated
        approximately one thousand patients under my supervision. For the last several months
        during the recent Delta surge, we have far more patients meeting criteria and




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         requesting treatment than we are able to provide due to staffing and supply limitations.
         Notably, this treatment is only available to patients ages 12 and up.

     49. From the September 2021 Denver Post article entitled "COVID antibody treatments help
        prevent hospitalization - but they don't replace vaccines, Colorado doctors say",
        "Prevention is going to be more effective" than hoping for good outcomes from a
        treatment 32 . Additionally, there are negative effects from having to isolate and missing
        time at school or work, and with family and friends as a result of an infection.

     SO. Additionally, clinically we have seen an increase in pediatric patients who present with
        mental health complaints including depression, anxiety and suicide attempts. This is the
        reason that Children's Hospital Colorado declared a State of Emergency for youth
        mental health earlier this year. The underlying cause of worsened mental health in
        young people is increased isolation and stress as a result of the pandemic33 .

     51. As a Douglas County School District parent, I have personally experienced all of the
        various policies and procedures that were implemented in the district over the last 18
        months. We had the children home full time for remote learning, and then partially
        home for hybrid learning. We had the children quarantined several times when there
        weren't mask mandates in place and now have them back in school full time, without
        disruptions as a result of a complete mask mandate.

     52. My children are the most successful when they are attending in-person school daily,
        without the risk of unnecessary disruption. This allows for their academic, social,
        emotional and physical development and creates the routine and schedule stability
        necessary for that development to occur. This routine and stability minimize their
        isolation experiences during quarantine and decreases their stress of the unknown
        which has been very challenging during this pandemic; thus, maintaining their positive
        mental health state.

     53. Given all of the data presented above, Douglas County School District needs to have the
        ability to determine the best policies and procedures to ensure a safe in-person learning
        environment for all of their students, including those who are at increased risk for
        complications for COVID-19, which includes the implementation of mask mandates and
        appropriate isolation and quarantine protocols.

                                            References

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         gu idance/ covid-19-planning-considerations-return-to-in-person-education-in-schools/

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         patients with chronic obstructive pulmonary disease." Annals of the American Thoracic
         Society 18.3 (2021): 541-544.

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         activity in health and disease." Annals of the American Thoracic Society 18.3 (2021): 399-
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         spread of SARS-CoV-2." Jama 325.10 (2021): 998-999.

     27. Howard, Jeremy, et al. "An evidence review of face masks against COVID-
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     33. https://www.childrenscolorado.org/about/news/2021/may-2021/youth-mental-health-
         state-of-emergency/




     I swear under the penalty of perjury under the laws of the United States that the foregoing
     is true and correct to the best of my knowledge. Dated this 15th day of October 2021, at
     Castle Rock, Colorado.

                                                                               Lindsey E. Fish, MD




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                            Lindsey E. Fish, M.D. Curriculum Vitae
 Personal
 Lindsey E. Fish, M.D.
 Medical Director, Federico F. Peña Southwest Urgent Care Clinic
 Denver Health and Hospital
 Assistant Professor of Medicine, Division of General Internal Medicine
 University of Colorado School of Medicine
 1339 S. Federal Blvd. MC 1109
 Denver, CO 80219
 P: 303-602-0013 F: 303-602-0211
 Lindsey.fish@dhha.org

 Education
 Washington University, St. Louis, MO                                      September 1997 – May 1998
 University of Kansas – Tropical Studies Program, Golfito, Costa Rica      August 2000 – December 2000
 Macalester College, St. Paul, MN                                          September 1998 – May 2001
          Bachelor of Arts: Major: Biology with an added emphasis in immunology and microbiology
                            Minor: Anthropology
 San Francisco Conservatory of Music, San Francisco, CA                    January 2003 – June 2004
          Independent Study in Classical Piano
 University of California, San Francisco School of Medicine, San Francisco, CA August 2003 – June 2007
          Doctor of Medicine
 Institute for Health Solutions, San Francisco, CA                         January 2005 – April 2011
          Clinical Research Fellow
 University of Colorado School of Medicine, Aurora, CO                     June 2007 – June 2010
          Internal Medicine Intern and Resident, Primary Care Program

 Academic Appointments
 University of Colorado School of Medicine, Division of General Internal Medicine
         Clinical Instructor                                              August 2011 – December 2014
         Assistant Professor of Medicine                                  January 2015 – Present

 Professional Positions
 University of Colorado Hospital, Aurora, CO
 Departments of Hospital Medicine and Hematologic Oncology-Hospitalist December 2008 – June 2010
 Colorado Department of Corrections, Denver and Cañon City, CO
 Colorado Territorial Correctional Facility – Physician II           September 2010 – May 2011
 Denver Women’s Correctional Facility – Physician II                 June 2011 – February 2013
 Department of Veteran’s Affairs, Denver VA Hospital, Denver, CO
 Ambulatory Care Department – Emergency Room Physician               January 2011 – September 2013




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 Denver Health and Hospital Authority, Denver, CO
 Adult Urgent Care Clinic – General Internal Medicine Physician         February 2013 – May 2016
 Peña Urgent Care Clinic – Medical Director and General Internal Medicine Physician
                                                                        September 2015 – Present
 See Clinician’s Portfolio for Additional Information

 Honors, Special Recognitions and Awards
 National Health Service Core Scholarship                                 August 2005 – May 2007
 National Health Service Core Loan Repayment recipient                    September 2012 – August 2014
 Corps Community Award for “Exceptional Service to Colorado’s Medically Underserved” presented by a
 coalition of organizations dedicated to providing medical care in Colorado              October 2012
 Pillar Award for Engagement, Denver Health                                              June 2014
 Pillar Award for Community, Denver Health                                               June 2016
 Compassionate Care Award for Exceptional Patient Care, Denver Health                    April 2017
 The Philip S. Mehler Adult Medicine Award for Excellence in Quality, Denver Health      May 2017
 Pillar Award for Growth, Denver Health                                                  June 2017
 Compassionate Care Award for Exceptional Patient Care, Denver Health                    February 2018
 Women’s Leadership Training University of Colorado School of Medicine August 2019 – July 2020

 Membership in Professional Organizations
 American College of Physicians Member                                  June 2010 – May 2014
 Society of General Internal Medicine Member                            January 2014 – Present
 Urgent Care Association of America Member                              October 2020 - Present

 Major Committee and Service Responsibilities
 Institute for Health Solutions, San Francisco, CA
 Medical Director, Board of Directors Member                             April 2011 – March 2017
 Denver Health:
          Point of Care Ultrasound Committee                            January 2019 – Present
          SURGG Study Pena Urgent Care Coordinator                      March 2019 - Present
          Pediatric Otitis Media Study Pena Urgent Care Coordinator     May 2019 - Present
          Pediatric Conjunctivitis Study Pena Urgent Care Coordinator   May 2019 – Present
 Society of General Internal Medicine Urgent Care Interest Group Coordinator
 Accepted in May 2019 but initiated in 2020 due to national emergency May 2019 - Present

 Licensure and Board Certification
 Colorado State Physician License; March 2009, June 2011, May 2013, April 2015, May 2017, April 2019,
 April 2021
 American Board of Internal Medicine Certification; Certification 2010 – 2021, Certification 2021 - 2031
 American Board of Internal Medicine Maintenance of Certification Program; In Compliance




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 Review Work
 Society of General Internal Medicine National Conference Poster Reviewer       Annually 2018 - Present
 Journal of Urgent Care Medicine Editorial Board Member                         June 2020 – Present
 Journal for the Healthcare of the Poor and Underserved Reviewer                July 2020 – Present
 Journal of Urgent Care Medicine, Editor of Clinical Images                     April 2021 - Present

 Invited Presentations
 Denver Health Community Health Services Board Meeting Presentation on Peña Urgent Care Clinic
                                                                                September 2016
 Denver Health General Internal Medicine Department Meeting Presentation on Non-Opioid
 Management of Acute Pain                                                       August 2017
 Denver Health Ambulatory Care Services Leadership Presentation on Peña Urgent Care Clinic
                                                                                November 2018
 Colorado Community Health Network Medical Directors Meeting Presentation on Acute Care Services in
 Community Health Clinics                                                       January 2020
 Denver Public Health Case Investigator Meeting Presentation on Monoclonal Antibodies for the
 Outpatient Treatment of Mild/Moderate COVID-19 Infection                       June – July 2021
 Urgent Care Association National Webinar “Revisiting Clinical and Operational Opportunities for COVID-
 19 mAb Therapies, Including the New Post-exposure Authorization”               August 2021
 University of Colorado Project Echo Statewide Webinar “A Provider’s Guide to Monoclonal Antibody
 Therapy for COVID-19” (over 700 participants)                                  August 2021
 Denver Post Article “COVID Antibody Treatments Help Prevent Hospitalization – But They Don’t Replace
 Vaccines, Colorado Doctors Say”                                                September 2021

 Teaching Record
 Presentations
 CU-Unite Correctional Care Large Group Presentation                    Annually 2012 – 2013
          Presented to 1st-2nd year medical/PA/NP students
 Underserved Career Panel Member                                        Annually 2012 – Present
          Presented to 2nd year internal medicine residents
 Clinical Attending Duties
 Adult Ambulatory Care Clerkship Preceptor                                       Sept 2011 – Feb 2013
                                                                                 October 2019 - Present
         Outpatient clinical supervision and bedside teaching of 3 year medical students – 4 hrs/wk
                                                                  rd

 Correctional Care Elective Preceptor                                            Sept 2011 – Feb 2013
         Outpatient clinical supervision and bedside teaching of 4 year medical students – 1 mon/yr
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 Underserved Elective Preceptor                                                  Sept 2011 – Feb 2013
         Outpatient clinical supervision and bedside teaching of 4 year medical students – 1 mon/yr
                                                                  th

 Foundations of Doctor Preceptor                                                 Sept 2011 – Present
         Outpatient clinical supervision and bedside teaching of 1 -4 year medical students – 4
                                                                  st th

         hrs/month




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 Adult Urgent Care Clinic Elective Preceptor                                        Feb 2013 – May 2016
          Supervision and bedside teaching of residents, urgent care clinic – 40 hours/week
 Longitudinal Integrated Clerkship Preceptor                                        July 2014 - Present
          Outpatient clinical supervision and bedside teaching of 3 year medical students – 5 hrs/mon
                                                                   rd

 Denver Health Urgent Care Elective Preceptor                                       June 2016 – Present
          Supervision and bedside teaching of residents, urgent care clinic – 24 hours/week
 Clinical Medical Spanish Elective Preceptor                                        Sept 2016 – Nov 2020
          Outpatient clinical supervision and bedside teaching of 4 year medical students – 1 mon/yr
                                                                   th

 Key Administrative Positions
 Adult Urgent Care Clinic Resident Elective Course Director                         July 2013 – May 2016
 Longitudinal Integrated Clerkship Urgent Care Liaison                              March 2014 – Present
 Clinical Medical Spanish Medical Student Course Director                           June 2015 – Nov 2020
 Denver Health Urgent Care Clinic Elective Course Director                          June 2016 – Present
 Teaching Accomplishments
 Developed the Denver Health Urgent Care Elective for Residents                             June 2016
 Denver Health Urgent Care Elective Curriculum Passport                             June 2017 – Present
          Developed self-directed urgent care curriculum for residents, with implementation and
          evaluation as well a national distribution
 Society of General Internal Medicine TEACH Program Completion                              May 2016
 University of Colorado School of Medicine Academy of Medical Educators Teaching Certificate Program
          Completion                                                                        June 2016
 University of Colorado School of Medicine Academy of Medical Educators Teaching Certificate Program
          Completion                                                                        May 2018
 See Educators Portfolio for additional information

 Grant Support
 [1]     Real World Effectiveness and Safety of Monoclonal Antibody Treatment in High-Risk COVID-19
         Outpatients; Denver Health Principal Investigator, co-investigator with the University of
         Colorado, funded by the National Institutes of Health (NIH) and National Center for Advancing
         Translational Sciences (NCATS) (award number UL1-TR002535-03S3); June 2021 – April 2022,
         20% effort, Denver Health direct costs $334,716.

 Bibliography
 Papers in Peer Reviewed Journals
 [1]     Mitrovic I, Fish de Peña LE, et al. “Rewiring the Stress Response: A New Paradigm for Health
         Care.” Hypothesis. 2011;9(1):e4.
 [2]     Fish LE, Gardiner S. "COVID-19 Considerations in the Urgent Care Clinic." Journal of Urgent Care
         Medicine. 2020;14(8):22-23.
 [3]     Fish LE. “Eye Pain in a Healthy 19-Year-Old.” Journal of Urgent Care Medicine. 2020;15(3):29-30.




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 [4]     Calcaterra, S. L., Lou, Y., Everhart, R. M., Fish LE, & Hanratty, R. "Association Between In-Clinic
         Opioid Administration and Discharge Opioid Prescription in Urgent Care: A Retrospective Cohort
         Study." Journal of General Internal Medicine. 2021;36(1):43-50.
 [5]     Mahajan A, Fish LE. “An Atypical Presentation of Thyroid Storm: A Stark Yet Potentially Lethal
         Diagnosis.” Journal of Urgent Care Medicine. 2021;15(7):17-20.
 [6]     Fish LE. “Outpatient Management of COVID-19 in the Urgent Care Clinic: Administering
         Monoclonal Antibodies.” Journal of Urgent Care Medicine. 2021;15(8):22-25.
 [7]     Hall JK, Chatroux IC, Fish LE. “An Innovative Model of Urgent Care for the Underserved: A Case
         Report of an Urban Hospital-Affiliated Federally Qualified Health Center Urgent Care Clinic.”
         Journal of Healthcare for the Poor and Underserved. 2021; 32(3):1160-1165.
 [8]     Murcia D, Fish LE. “Use of a Quality Improvement Tool for the Evaluation of Healthcare
         Disparities in Urgent Care: A Case Example for Bacterial Pneumonia." Journal of Urgent Care
         Medicine. Online publication in September 2021.
 Invited Articles in Peer Reviewed Journals
 [1]     Fish LE. "The Challenge of Inequity in Urgent Care Medicine: A Call to Action." Journal of Urgent
         Care Medicine. 2020;14(11):1-2.
 Other Peer Reviewed Publications
 [1]     Fish LE. “Urgent Care Curriculum for Primary Care Providers.” Primary Care Track Toolkit
         Produced by the Alliance for Academic Internal Medicine APDIM Primary Care Forum, Second
         Edition, September 2020.
 Book Chapter
 [1]     Long J, Fish LE, Wobbekind A. Professionalism in Healthcare: The Basic Principles for Surgeons
         in Training, Chapter 21 of Surgical Patient Safety: A Case-Based Approach Textbook by Philip
         F. Stahel. 2014.
 Oral Presentations (Competitive)
 [1]     Fish LE, Adams J. Urgent Care Medicine: An Opportunity to Teach Outside of Specialty Silos in
         a Longitudinal Integrated Clerkship. Consortium of Longitudinal Integrated Clerkships
         International Conference, October 2019, Vancouver, British Colombia, Canada.
 [2]     Gardiner, S, Fish LE. Non-Opioid Patient Care in an Urgent Care Setting. Oral Presentation at
         the 32nd Annual Rocky Mountain Interprofessional Research & Evidence-Based Practice
         Symposium, May 2020, Aurora, CO. Accepted but not presented due to national emergency.
 [3]     Fish LE and Nadler, P. Designing an Urgent Care Curriculum for you Internal Medicine and/or
         Medicine/Pediatrics Residency Program. Oral Workshop Presentation at the Society of
         Internal Medicine Mountain West/New England Regional Meeting, November 2020, Virtual.
         Accepted but not presented due to technology issues.
 [4]     Fish LE and Nadler, P. Designing an Urgent Care Curriculum for you Internal Medicine and/or
         Medicine/Pediatrics Residency Program. Webinar for the Society of Internal Medicine
         Mountain West/New England Region, December 2020, Virtual.
 Poster Presentations (Competitive)
 [1]     Fish LE, Adams J. A Passport to Self-Directed Learning: Innovation in Internal Medicine Resident
         Curriculum Design in an Urgent Care Setting. University of Colorado Education Symposium,
         February 2018, Aurora, CO.



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 [2]    Fish LE, Adams J. A Passport to Self-Directed Learning: Innovation in Internal Medicine Resident
        Curriculum Design in an Urgent Care Setting. Western Group of Education Affairs (WGEA)
        Conference, March 2018, Denver, CO.
 [3]    Fish LE, Adams J. A Passport to Self-Directed Learning: Innovation in Internal Medicine Resident
        Curriculum Design in an Urgent Care Setting. Society of General Internal Medicine (SGIM)
        National Conference, April 2018, Denver, CO.
 [4]    Fish LE, Adams J. Acute Pain Management in an Opioid Free Community Based Urgent Care Clinic.
        Society of General Internal Medicine (SGIM) National Conference, April 2018, Denver, CO.
 [5]    Calcaterra S, Lou Y, Everhart R, Fish LE, Hanratty R. Association between Clinically Administered
        Opioids and Discharge Opioid in Urgent Care. American Society of Addiction Medicine (ASAM)
        Annual National Meeting. April 2020, Denver, CO. Accepted but not presented to due to
        national emergency.
 [6]    Calcaterra S, Lou Y, Everhart R, Fish LE, Hanratty R. Association between Clinically Administered
        Opioids and Discharge Opioid in Urgent Care. Society of General Internal Medicine (SGIM)
        National Conference. May 2020, Birmingham, AL. Accepted but not presented to due to national
        emergency.
 [7]    Fish LE. An Innovative Model of Urgent Care for the Underserved: A Case Report of an Urban
        Hospital-affiliated Federally Qualified Health Center Urgent Care Clinic. Urgent Care Association
        of America Conference, August 2020, Virtual.
 [8]    Fish LE. The Urgent Care Clinic: An Underutilized Effective Learning Space for Residents and
        Medical Students. Urgent Care Association of America Conference, August 2020, Virtual.
 [9]    Khalil P, Toney A, Fish LE. The Clinical Applications, Benefits, Limitations and Outcomes of Point
        of Care Ultrasound in the Urgent Care Clinic. Urgent Care Association of America Conference,
        August 2020, Virtual.
 [10]   Murphy R, Fish LE. Teeth, Heart and Brain; A Connection Explained. Society of General Internal
        Medicine (SGIM) National Conference. April 2021, Virtual.




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